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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  EL DORADO DIVISION

RANDY DEWAYNE ROGERS, AS ADMINISTRATOR                                              PLAINTIFF
OF THE ESTATE OF RANDY JAMES ROGERS, AND
ON HIS OWN BEHALF

VS.                           CASE NO. 1:24-CV-1036-SOH

COLUMBIA COUNTY, et al                                                      DEFENDANTS

  SEPARATE DEFENDANTS, COUNTY FACILITY HEALTHCARE OF ARKANSAS,
     LLC AND DARRELL ELKIN’S ANSWER TO PLAINTIFF’S COMPLAINT

          Separate Defendants, County Facility Healthcare of Arkansas, LLC (“CFHA”) and

Darrell Elkin, through counsel, C. Burt Newell, replies as follows to the Plaintiff’s Complaint:

          1.    These Separate Defendants deny the Introduction section due to lack of personal

knowledge and information; therefore, all allegations contained in this section is denied.

          2.    Separate Defendants admit the allegations contained paragraphs 1, 2, and 3 of

Plaintiff’s Complaint.

          3.    Separate Defendants deny allegations contained in paragraphs 4 through 13 due to

lack of information and knowledge; therefore, all allegations contained these paragraphs are

denied.

          4.    Separate Defendants deny the allegations contained in paragraph 14 of Plaintiff’s

Complaint.

          5.    Separate Defendants deny as stated the allegations contained in paragraph 15 of

Plaintiff’s Complaint.

          6.    Separate Defendants deny that Nurse Cassandra was an employee of CFHA

and/or Darrell Elkin. Her last name is Hutt. She provided nursing services as an independent

contractor for CFHA.



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       7.      Separate Defendants deny the allegations contained in paragraphs 17 through 112

of Plaintiff’s Complaint due to lack of knowledge and information.

       8.      Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 113 of Plaintiff s Complaint. All allegations that were

denied before are denied again.

       9.      Separate Defendants deny the allegations contained in paragraphs 114 through

118 of Plaintiff’s Complaint to the extent that allegations in those paragraphs are directed

towards these Separate Defendants.

       10.     Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 119 of Plaintiff s Complaint. All allegations that were

denied before are denied again.

       11.     Separate Defendants deny the allegations contained in paragraphs 120 through

141 of Plaintiff’s Complaint.

       12.     Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 1 of the Count III section of Plaintiff s Complaint. All

allegations that were denied before are denied again.

       13.     Separate Defendants deny the allegations as set forth in Count III of Plaintiff’s

Complaint which are numbered paragraphs 2 through 8.

       14.     Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 9 of the Count IV section of Plaintiff s Complaint. All

allegations that were denied before are denied again.

       15.     Separate Defendants deny all allegations contained in Count IV (paragraphs 10

through 13) of Plaintiff’s Complaint.




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        16.     Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 14 of the Count V section of Plaintiff s Complaint.

All allegations that were denied before are denied again.

        17.     Separate Defendants deny all allegations contained in Count V (paragraphs 15

through 21) of Plaintiff’s Complaint as none of those allegations are directed towards these

Separate Defendants.

        18.     Separate Defendants acknowledges that Plaintiff re-alleges the foregoing as if

fully set out herein as alleged in paragraph 1 of the Count VI section of Plaintiff s Complaint. All

allegations that were denied before are denied again.

        19.     Separate Defendants deny all allegations expressed therein in Count VI

(paragraphs 1 through 5) of Plaintiff’s Complaint to the extent the allegations are directed

towards them.

                                       AFFIRMATIVE DEFENSES

        20.     Separate Defendants assert the following affirmative defenses:

                A. All applicable immunity, including, but not limited to (and only as applicable),

                tort/negligence immunity, qualified immunity, statutory tort/negligence immunity,

                punitive damages immunity, and sovereign immunity;

                B. Qualified immunity

                C. The Plaintiff has failed to state a claim upon which relief can be granted;

                D. Separate Defendants avail themselves of all statute of limitations defenses

                applicable to this claim;

                E. Common defense doctrine, as applicable;

                F. Plaintiff has failed to mitigate damages.

        21.     Separate Defendant Darrell Elkin affirmatively asserts that to the extent he is sued in

his individual capacity he is entitled to qualified immunity.
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       22.     Separate Defendants specifically reserve the right to plead further in this case as

evidence and discovery are developed.

       WHEREFORE, Separate Defendants, County Facility Healthcare of Arkansas, LLC

(“CFHA”) and Darrell Elkin, through counsel, C. Burt Newell, having fully answered the

Plaintiff’s Complaint, respectfully prays that Plaintiff’s Complaint be dismissed as to these

Separate Defendants, award them costs herein expended, including attorney’s fees, and grant to

them all other just and proper relief to which this Court deems they may be entitled.


                                               Respectfully submitted,

                                               By: /s/ C. Burt Newell
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                                                      Attorney for Darrell Elkin and
                                                      CFHA

                                     CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of January, 2025, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF System, and I hereby certify that I have mailed
the document by the United States Postal Service to the following participant:

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                                   By: C. Burt Newell
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